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Attorney:

CHRISTINAM. PAUL
K&L GATES
FF 35909 3

599 LEXINGTON AVENUE
NEW YORK NY 10022
UNITED STATES DISTRICT COURT, NORTHERN DISTRICT : .
OF NEW YORK Index / case #: 6:24-CV-00202
SARAH MATTHEWS, ET AL
Plaintiff - AFFIDAVIT OF SERVICE

BRUNSWICK CORPORATION D/B/A MERCURY MARINE, BY AND THROUGH ITS
AGENTS, OFFICERS, AND/OR EMPLOYEES
. Defendant

aon — County, State of ny Yor Vicagilé Wier
s

ays: Déponent is not a party herein, is over the age of 18 years and resides i in the State-of: Vio oe

being sworn,

OntDiS}84 at B:59 amifenpht: 154 GADWALL LANE MANLIUS NY 13104

Deponent served the within: THIRD-PARTY SUMMONS; THIRD-PARTY COMPLAINT; CIVIL DOCKET; UNIFORM
PRETRIAL SCHEDULING ORDER; CIVIL CASE MANAGEMENT PLAN; GENERAL ORDER #26, CIVIL CASE ASSIGNMENT & FILING ORDER; COMPLAINT

On which were set forth the index No., herein, and date of filing

On: DAVID YOULEN
(herein after called the recipient) therein named.

YI Individual By delivering a true copy of each to said recipient personally; Deponent knew the person so served to be the person
desctibed in as said recipient therein

[| Suitable Age By delivering thereat a true copy of each to;
person a person of suitable age and discretion.Said premises is recipients [ ] Actual Place of Residence
[ ] Actual Place of Business within the State.

[J Affixing to By affixing a true copy of each to the door of said premises which is recipients [ ] Actual Place of Residence
Door [ ]Actual Place of Business, within the State
Deponent was unable with due diligence to find recipient or person of suitable age and discretion thereat having called
there

[_] Corporation By delivering thereat a true copy of each to:

or personally. Deponent knew said corporation / partnership so served to be the corporation / partnership described in said
Partnership aforementioned document as said recipient and knew said individual to_be thereof.
[J Mailing Within 20 days of such delivery, or affixing, deponent enclosed a copy of same in a postpaid envelope properly addressed
to recipient at recipients last known [ ] Actual Place of Residence [ ] Actual Place of Business
at

and deposited said envelope in an official depository under the exclusive care and custody of the U.S. Postal Service within
New York State. The envelope bore the legend “personal and confidential” and did not indicateon the outside, thereof
by return address or otherwise that the communication was from an attorney or concerned an action against the defendant.

i Description [J] Male [fi White skin [ ] Black hair [ ]14-20 Yrs {[ ] Under 5 [ ] Under 100 Lbs
[ ] Female [ ] Black skin [ ]Brownhair [ ]21-35 Yrs [ ]5'0"-5'3" [ ]100-130 Lbs ‘
[ ] Yellow skin [XJ Gray hair [ ]36-50 Yrs” [ ]5'4"-5'8" [ ]131-160 Lbs
{ ] Brown skin [ ]Blondehair [ ]51-65 Yrs [X17 5'9"-6'0" [yl 161-200 Lbs
[ ] Red skin [ ] Red hair [KX] Over65 Yrs [ ] Over 6 [ ] Over 200 Lbs
Other Identifying Features
i) Military | asked the person spoken to whether recipient was in active military service of the United States or the State of
Service New York in any capacity whatever and received a negative reply. The source of my information and the grounds of my belief

are the conversations and observations above narrated.

Subpoena Fee Tendered in the amount of

C
o __
Sworn to before me on LL dou of Odebu’ j Ide Wid hus

(Print name below signature}

SPENDE :
MP visas ENNAR, SPENLE ate Muchane Meyer
No. 019P6710100

Qualified in Onondaga Co
My Commission Expires M rch 2008

File No. 6:24-CV-00202 Work Order No. 739093

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
Xx

SARAH MATTHEWS and JEFFREY MATTHEWS,
Individually, and as Parents and Natura] Guardians of

' MLM. 1, an infant under the age of 18 years and M.M.
2, an infant under the age of 18 years,

Case No, 6:24-CV-0202
(DNH/TWD)

Plaintiffs,
-against-

BRUNSWICK CORPORATION d/b/a MERCURY
MARINE, by and through its Agents, Officers, and/or:

Employees,
Defendant.
x
BRUNSWICK CORPORATION d/b/a MERCURY — ;
MARINE, by and through its Agents, Officers, and/or ;
Employees, :
Third-Party Plaintiff,
- -against- :
DAVID YOULEN, :
Third-Party Defendant. :
x

MERCURY MARINE'S THIRD-PARTY SUMMONS

TO: David Youlen
154 Gadwell Lane
Manlius, NY 13104

A lawsuit has been filed against defendant Brunswick Corporation d/k/a Mercury Marine,
by and through its Agents, Officers and/or Employees, which as third-party plaintiff is making
this claim against you to pay part or all of what the defendant may owe to the plaintiff Sarah
Matthews and Jeffrey Matthews, Individually, and as Parents and Natural Guardians of M.M. 1,
an infant under the age of 18 years and M.M. 2, an infant under the age of 18 years,

Within 21 days after the service of this summons on you (not counting the day you
received it) — or 60 days if you are the United States or a United States Agency, or an officer or

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employee of the United States described in Fed. R. Civ. P. 12(a){2) or (3) — you must serve on
the third-party plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the defendant or
defendant’s attorney, whose name and address are:

Christina M, Paul (admitted pro hac vice)
K&L Gates LLP

Southeast Financial Center

200 South Biscayne Boulevard

Suite 3900

Miami, Florida 33131-2399

Tel.: 305-539-3300

It must also be served on the plaintiff or plaintiffs attorney, whose name and address are:

Timothy J, DeMore
DeMore Law Firm

125 East Jefferson Street
Suite 900

Syracuse, New York 13202
Tel.: 315-413-7002

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the third-party complaint, You also must file the answer or motion with the court
and serve it on any other parties.

A copy of the plaintiffs complaint is also attached, You may — but are not required to —
respond to it. aii:

Dated: October 10, 2024 | Ao / > SJ nt

d Clerix of Court
s/ Helen M. Reese

Signature of Clerk or Deputy Clerk

